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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. CV 18-5934-MWF-KSx                                                 Date: August 7, 2019
Title       Ox Labs Inc. v. Bitpay, Inc. et al.




Present: The Honorable:      Karen L. Stevenson, United States Magistrate Judge


                 Gay Roberson                                         XTR 08/07/2019
                 Deputy Clerk                                     Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
               Anahit Samarjian                                     Lawrence Kunin




Proceedings: MINUTES OF TELEPHONIC CONFERENCE RE:
             DISCOVERY DISPUTE

        Case called. Counsel state their appearances. The Court held a telephonic conference with
counsel for Plaintiff Ox Labs Inc. (“Plaintiff”) and Defendant Bitpay, Inc. (“Defendant”)
regarding certain of Plaintiff’s discovery requests that seek information concerning a 200 Bitcoin
transaction that was erroneously credited to Bitpay (and related 200 Bitcoin Gold and 200
Bitcoin Cash transactions) and led to Plaintiff’s claims in this lawsuit. The disputed requests are
as follows:

                Interrogatory No. 2:
                State how many total Bitcoins you owned on the date that you learned of the
                credit error that gave you Plaintiff’s 200 Bitcoins.

                Interrogatory No. 3:
                State how many total Bitcoins you owned on the date that you sold, traded, or
                exchanged Plaintiff’s 200 Bitcoins.
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                             UNITED STATES DISTRICT COURT
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                Interrogatory No. 4:
                State how many total Bitcoins you owned on the date that you tendered
                $57,216.55 to Plaintiff.

                Interrogatory No. 17:
                Identify all documents that you contend determine the value or price of Bitcoin
                from 2015-2019.

                Interrogatory No. 18,
                Identify all documents that you contend determine the value or price of Bitcoin
                Gold from 2017-2019.

                Interrogatory No. 19,
                Identify all documents that you contend determine the value or price of Bitcoin
                Cash from 2017-2019.

Defendant responded to each of these interrogatories with boilerplate objections that the requests
are irrelevant and not reasonably likely to lead to relevant evidence. With respect to
Interrogatory Nos. 17, 18, and 19, Defendant also objected that the requests are vague,
ambiguous, and overly broad.

                Request for Production of Documents No. 5:
                Bitpay’s financial statements for the years 2015-2018.

Bitpay objected that RFP No. 5 seeks information that is wholly irrelevant and not reasonably
calculated to lead to relevant evidence.

        After further discussion, the Court determined that the information sought in
Interrogatory Nos. 2, 3, 4, 17, 18, and 19 is directly relevant to the claims and defenses at issue
here and proportionate to the needs of the case under Rule26(b)(2) of the Federal Rules of Civil
Procedure. However, the Court sustains Defendant’s objections to RFP No. 5, finding the request
for financial statements neither relevant nor proportionate to the limited claims as issue
concerning a single 200 Bitcoin transaction.


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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. CV 18-5934-MWF-KSx                                                Date: August 7, 2019
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       Accordingly, Defendant must serve complete answers to Interrogatory Nos. 2, 3, 4, 17,
18, and 19 no later than Friday, August 9, 2019. Plaintiff indicated it will withdraw RFP No.
5. In light of the August 9, 2019 fact discovery cut-off, the parties are advised to promptly
contact the district judge to request an extension if they believe they will need more time to
complete the discovery required by this Order.


IT IS SO ORDERED.

                                                                                          : 17 mins
                                                                  Initials of Preparer     gr




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